

Woloszuk v Logan-Young (2018 NY Slip Op 04180)





Woloszuk v Logan-Young


2018 NY Slip Op 04180


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, AND TROUTMAN, JJ.


652 CA 15-01165

[*1]JACEK WOLOSZUK, INDIVIDUALLY AND AS EXECUTOR OF THE ESTATE OF ELLEN WOLOSZUK, DECEASED, PLAINTIFF-RESPONDENT,
vWENDE LOGAN-YOUNG, M.D., DOING BUSINESS AS ELIZABETH WENDE BREAST CLINIC, WENDE LOGAN-YOUNG, M.D., PHILIP MURPHY, M.D., DEFENDANTS-APPELLANTS, ET AL., DEFENDANTS. (APPEAL NO. 5.) 






UNDERBERG &amp; KESSLER LLP, ROCHESTER (MARGARET E. SOMERSET OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
PAUL WILLIAM BELTZ, P.C., BUFFALO (ANNE B. RIMMLER OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an amended order of the Supreme Court, Monroe County (Matthew A. Rosenbaum, J.), entered March 20, 2015. The amended order, among other things, granted the motion of plaintiff to amend the caption and directed that the previously imposed sanction of striking the answer shall apply to defendant Wende Logan-Young, M.D., doing business as Elizabeth Wende Breast Clinic. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Woloszuk v Wende Logan-Young, M.D., doing business as Elizabeth Wende Breast Clinic ([appeal No. 1] — AD3d — [June 8, 2018] [4th Dept 2018]).
Entered: June 8, 2018
Mark W. Bennett
Clerk of the Court








